      Case 2:21-cr-00292-MCS Document 3 Filed 05/21/21
                                               LODGED
                                                       Page 1 of 5 Page ID #:41
                                                     CLERK, U.S. DISTRICT COURT


                                                      
                                                   CENTRAL DISTRICT OF CALIFORNIA
 1   TRACY L. WILKISON                        '0
                                       BY: ___________________ DEPUTY

     Acting United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division

 4
     JOSEPH D. AXELRAD (Cal. Bar No. 274580)
     JEFFREY M. CHEMERINSKY (Cal Bar No. 270756)
                                                                                    5/21/21
     Assistant United States Attorneys                                                ev
 5   Violent & Organized Crimes Section
          1300 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-7964
          Facsimile: (213) 894-0141
 8        E-mail:    joseph.axelrad@usdoj.gov

 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                                  UNITED STATES DISTRICT COURT
11
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                           CR PM
13
                  Plaintiff,                             GOVERNMENT’S NOTICE OF REQUEST FOR
14                                                       DETENTION FOR DEFENDANT SCOTT
                         v.                              QUINN BERKETT
15
     SCOTT QUINN BERKETT,
16
                  Defendant.
17

18
            Plaintiff, United States of America, by and through its counsel
19
     of record, hereby requests detention of defendant and gives notice of
20
     the following material factors:
21
           1.     Temporary 10-day Detention Requested (§ 3142(d)) on the
22
                  following grounds:
23
                a.      present offense committed while defendant was on release
24
                        pending (felony trial),
25
                b.      defendant is an alien not lawfully admitted for
26
                        permanent residence; and
27
                c.      defendant may flee; or
28
     Case 2:21-cr-00292-MCS Document 3 Filed 05/21/21 Page 2 of 5 Page ID #:42



 1           d.    pose a danger to another or the community.

 2      2.    Pretrial Detention Requested (§ 3142(e)) because no

 3            condition or combination of conditions will reasonably

 4            assure:

 5            a.    the appearance of the defendant as required;
 6            b.    safety of any other person and the community.
 7      3.    Detention Requested Pending Supervised Release/Probation
 8            Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.
 9            § 3143(a)):
10            a.    defendant cannot establish by clear and convincing
11                  evidence that he/she will not pose a danger to any
12                  other person or to the community;
13            b.    defendant cannot establish by clear and convincing
14                  evidence that he/she will not flee.
15      4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.
16            § 3142(e)):
17            a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
18                  (46 U.S.C. App. 1901 et seq.) offense with 10-year or
19                  greater maximum penalty (presumption of danger to
20                  community and flight risk);
21            b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or
22                  2332b(g)(5)(B) with 10-year or greater maximum penalty
23                  (presumption of danger to community and flight risk);
24            c.    offense involving a minor victim under 18 U.S.C.
25                  §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
26                  2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),
27

28
                                         2
     Case 2:21-cr-00292-MCS Document 3 Filed 05/21/21 Page 3 of 5 Page ID #:43



 1                  2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                  to community and flight risk);

 3            d.    defendant currently charged with an offense described
 4                  in paragraph 5a - 5e below, AND defendant was
 5                  previously convicted of an offense described in
 6                  paragraph 5a - 5e below (whether Federal or
 7                  State/local), AND that previous offense was committed
 8                  while defendant was on release pending trial, AND the
 9                  current offense was committed within five years of
10                  conviction or release from prison on the above-
11                  described previous conviction (presumption of danger to
12                  community).
13      5.    Government Is Entitled to Detention Hearing Under § 3142(f)
14            If the Case Involves:
15            a.    a crime of violence (as defined in 18 U.S.C.
16                  § 3156(a)(4)), a violation of 18 U.S.C. § 1591, or
17                  Federal crime of terrorism (as defined in 18 U.S.C.
18                  § 2332b(g)(5)(B)) for which maximum sentence is 10
19                  years’ imprisonment or more;
20            b.    an offense for which maximum sentence is life
21                  imprisonment or death;
22            c.    Title 21 or MDLEA offense for which maximum sentence is
23                  10 years’ imprisonment or more;
24            d.    any felony if defendant has two or more convictions for
25                  a crime set forth in a-c above or for an offense under
26                  state or local law that would qualify under a, b, or c
27

28
                                         3
      Case 2:21-cr-00292-MCS Document 3 Filed 05/21/21 Page 4 of 5 Page ID #:44



 1                   if federal jurisdiction were present, or a combination

 2                   or such offenses;

 3             e.    any felony not otherwise a crime of violence that
 4                   involves a minor victim or the possession or use of a
 5                   firearm or destructive device (as defined in 18 U.S.C.
 6                   § 921), or any other dangerous weapon, or involves a
 7                   failure to register under 18 U.S.C. § 2250;
 8             f.    serious risk defendant will flee;
 9             g.    serious risk defendant will (obstruct or attempt to
10                   obstruct justice) or (threaten, injure, or intimidate
11                   prospective witness or juror, or attempt to do so).
12        6.   Government requests continuance of _____ days for detention
13             hearing under § 3142(f) and based upon the following
14             reason(s):
15

16

17

18

19   //
20   //
21   //
22   //
23   //
24   //
25   //
26

27

28
                                          4
     Case 2:21-cr-00292-MCS Document 3 Filed 05/21/21 Page 5 of 5 Page ID #:45



 1      7.    Good cause for continuance in excess of three days exists in

 2            that:

 3

 4

 5

 6

 7

 8   Dated: May 21, 2021                 Respectfully submitted,
 9                                       TRACY L. WILKISON
                                         Acting United States Attorney
10
                                         BRANDON D. FOX
11                                       Assistant United States Attorney
                                         Chief, Criminal Division
12

13                                        /s/ Joseph Axelrad
                                         JOSEPH D. AXELRAD
14                                       Assistant United States Attorney
15                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
16

17

18

19

20

21

22

23

24

25

26

27

28
                                         5
